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                                                         UNITED STATES DISTRICT
                                                         COURT SOUTHERN DISTRICT OF
                                                         FLORIDA

                                                         MIAMI DIVISION

                                                         Case No.: 1:18-CV-24100-COOKE/
                                                         GOODMAN

   DIGNA VINAS,

          Plaintiff,

   vs.

  THE INDEPENDENT ORDER
  OF FORESTERS,

          Defendant.
                                             I

      PLAINTIFF’S REPLY TO DEFENDANT’S RESPONSE IN OPPOSITION TO
     PLAINTIFF’S EXPEDITED MOTION TO EXTEND DEADLINES FOR EXPERT
         DISCOVERY, DAUBERT MOTIONS, AND DISPOSITIVE MOTIONS

          Plaintiff, Digna Vinas, pursuant to Rule 7(b) and Rule 16(b) of the Federal Rules of
   Civil Procedure, and Rule 7.1(d)(2) of the Local Rules for the Southern District of Florida,
   hereby files this Reply to Defendant’s Response in Opposition to Plaintiff’s Expedited Motion
   to Extend Deadlines for Expert Discovery, Daubert Motions, and Dispositive Motions and
   states as follows:
          1.      Defendant’s Response acknowledges that it expressly agreed to extend the
   time for the parties to exchange expert reports and yet completely ignores a glaring hole in its
   argument and reasoning based upon the very language of the Court Order it relies upon. By
   the Court’s own Order, the time to take expert depositions begins to run from the respective
   parties’ disclosure. The Court’s Order states in pertinent part:
                  …

                  Defendant must furnish expert witness list to the Plaintiff, along
                  with the summaries/reports required by Fed. R. Civ. P. 26(a)(2),
                  [November 25, 2020], and only those expert witnesses will be
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                  permitted to testify. Within the fourteen-day period thereafter,
                  Defendant must make its experts available for deposition by the
                  Plaintiff.

   (D.E. 92 at 2) (emphasis added). By the Court’s own language, the 14-day deposition period
   is directly tied into and begins to run at the disclosure date.
          2.      Defendant’s suggestion that its general opposition to extending the time to take
   depositions applied to experts, is violative of both common sense and temporal logic. Using
   the language of the Court’s Order, it is obviously impossible for the parties to take depositions
   of experts that have not even been disclosed yet.
          3.      Nonetheless, when Vinas learned of Defendant’s intention to not permit
   discovery beyond December 4th (while untenable for the above reasons), Plaintiff immediately
   requested deposition dates on the only two business days between Foresters’ Thanksgiving
   Eve disclosure and December 4th (allowing one day for transcription of the deposition). The
   request literally could not have been made any sooner. Foresters absolutely refused to
   produce its witness!
          4.      Foresters cannot have it both ways. It cannot object to a reasonable extension
   to depose its expert based upon a strict adherence to the Court’s timeline, and at the same
   time, refuse to produce its expert for deposition within that very timeline. The cumulative
   effect of Foresters’ refusal to produce its expert on December 2nd or 3rd and to refuse to agree
   to a reasonable extension is to surreptitiously preclude Plaintiff from taking its expert
   depositions entirely.
          5.      As indicated in the initial Motion, these are matters which are usually able to
   be worked out between the parties acting reasonably. Foresters’ refusal to produce its witness
   for deposition within the very timeline it wishes to adhere to and, at the same time, refusing
   to agree to an extension for that deposition is unsupportable.
          6.      Finally, the remainder of Defendant’s Response, like so many of its other
   memos, is an irrelevant and premature attack on Plaintiff’s insurance expert, having nothing
   to do with the issues in this Motion. Plaintiff will respond to Foresters’ challenge to Mr. Stein
   in an appropriate Response.
          WHEREFORE, Plaintiff, Digna Vinas, respectfully requests this Court enter an Order
   granting a two-week extension of time for Plaintiff to depose Foresters’ expert and one

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   additional week thereafter to file its Daubert and dispositive motions to December 18, 2020
   and December 28, 2020, respectively during which time Plaintiff will take the deposition of
   Defendant’s expert and file a timely and meaningful Daubert motion and, if appropriate,
   dispositive motion.

                                 CERTIFICATE OF SERVICE

            I HEREBY CERTIFY a true and correct copy of the foregoing has been electronically

   filed with the Court and a copy has been served on December 2, 2020 on: Kristina B. Pett,

   Esq. Kristina.pett@mhllp.com and Danielle Shure, Esq., Danielle.shure@mhllp.com,

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                                                    and



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